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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

In re:
Chapter 7

Joseph G. DuMouchelle and Melinda
J. Adducci, Case No. 19-54531

Honorable Lisa Gretchko
Debtors.

Thomas T. Ritter,
Plaintiff,
V.
Melinda J. Adducci, Adversary Pro. No. 20-04381

Defendant.
/

STIPULATION FOR ENTRY OF PROTECTIVE
ORDER GOVERNING IMAGING AND INSPECTION OF DEFENDANT
MELINDA ADDUCCT AND FORMER DEFENDANT JOSEPH
DUMOUCHELE’S RELEVANT ELECTRONIC DEVICES AND
PROTECTION OF CONFIDENTIAL AND PRIVILEGED INFORMATION
AND PRESERVATION OF PRIVILEGE IN THE EVENT OF
INADVERTENT PRODUCTION OF PRIVILEGED MATERIAL

Thomas Ritter (“Plaintiff”), and Melinda J. Adducci (“Defendant’’), by their
respective counsel, and VESTIGE LTD, d/b/a “Vestige Digital Investigations”, of 23

Public Square Suite 250, Medina, OH 44256 (“Vestige’”’), by and though its authorized

130316422v2

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 1 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

representative, stipulate and agree to the entry of the proposed Order attached hereto
as Exhibit 1, adopting the Agreement Regarding Electronic Discovery, attached hereto
as Exhibit 2.

Approved as to form and content:

TAFT STETTINIUS & JOHN R. FOLEY, P.C.
HOLLISTER, LLP
By: /s/Patrick A. Foley (w/permission)
By: /s/Jay L. Welford Patrick A. Foley (P74323)
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Counsel to Plaintiff, Thomas Ritter Counsel for Defendant, Melinda J.
Adducci
Dated: December | , 2023 Dated: December \¢, 2023
VESTIGE DIGITAL
INVESTIGATIONS

DocuSigned by:

By| 42®2-

Greg eevee’

Its: Chief Technology Officer

Dated: December \§ , 2023

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20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 2 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

EXHIBIT 1

1303 16422v2

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 3 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

In re:
Chapter 7

Joseph G. DuMouchelle and Melinda
J. Adducci, Case No. 19-5453 1

Honorable Lisa Gretchko
Debtors.

Thomas T. Ritter,
Plaintiff,
Vv.
Melinda J. Adducci, Adversary Pro, No. 20-0438 1

Defendant.
/

PROTECTIVE ORDER GOVERNING EMAGING AND INSPECTION OF
DEFENDANT MELINDA ADDUCCI AND FORMER DEFENDANT
JOSEPH DUMOUCHELE’S RELEVANT ELECTRONIC DEVICES

AND PROTECTION OF CONFIDENTIAL AND PRIVILEGED

INFORMATION AND PRESERVATION OF PRIVILEGE IN THE EVENT

OF INADVERTENT PRODUCTION OF PRIVILEGED MATERIAL

THIS MATTER having come before the Court on the stipulation
(“Stipulation”; ECF No. ) between Plaintiff, Thomas Ritter (“Plaintiff”) and
Defendant, Melinda J. Adducci (“Defendant”), by their respective counsel, and

VESTIGE LTD, d/b/a “Vestige Digital Investigations”, of 23 Public Square Suite 250,

130316422v2

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 4 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEA0FOEED

Medina, OH 44256 (“Vestige’’), by and though its authorized representative, agreeing
and consenting to the terms of this Order. The Court has reviewed the Stipulation and
this Order, and the Agreement Regarding Electronic Discovery, and based thereon,
finds cause to enter this Order,

NOW THEREFORE, IT IS HEREBY ORDERED:

1. The Agreement Regarding Electronic Discovery (“Agreement”) attached to this
Order is adopted by the Court, for purposes of enforcement of the rights and
obligations agreed to thereunder.

2. The adoption of the Agreement in this Order shall not be deemed or construed
to be a finding of fact by this Court for any factual statements set forth in the
Agreement.

3. Vestige having, by signing this Agreement, voluntarily submitted to the
personal jurisdiction of this Court, the Court finds and shall exercise personal
jurisdiction over Vestige for enforcement of the terms of the Agreement.

4. The parties shall all govern themselves according to, and shall comply with, the

terms of the Agreement.

130316422v2

20-04381-lsg Doc163 Filed 12/19/23. Entered 12/19/23 10:32:44 Page 5 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

Exhibit 2

130316422v2

20-04381-lsg Doc 163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 6 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

In re:
Chapter 7

Joseph G. DuMouchelle and Melinda
J. Adducci, Case No. 19-54531

Honorable Lisa Gretchko
Debtors.

Thomas T. Ritter,

Plaintiff,
Vv.

Melinda J. Adducci, Adversary Pro. No. 20-04381

Defendant.
/

AGREEMENT REGARDING ELECTRONIC DISCOVERY

THIS AGREEMENT is entered into by and between Plaintiff, THOMAS
RITTER, by and through his counsel, Defendant, MELINDA J. ADDUCCI, by and
through her counsel, and VESTIGE LTD, d/b/a “Vestige Digital Investigations”, of 23
Public Square Suite 250, Medina, OH 44256 (“Vestige’’), by and though its authorized
representative.

Defendant, in response to Plaintiff's discovery requests, identified two lap top

computers, a MacBook Pro, 2016 with serial number CO2SV2E6HFIT and a

1303 16422v2

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 7 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

MacBook Air, 2019 with serial number SNFVFYT1P2M6X7 (hereinafter the

“Electronic Devices”’) in her possession that Plaintiff seeks to image in connection with

Plaintiff's discovery requests.

I. PRESERVING CONTENT AND ARTIFACTS ON RELEVANT
ELECTRONIC DEVICES

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A. Defendant will make the Electronic Devices available at a mutually

convenient date and time, without having to surrender possession of the
same, to allow a representative of Vestige to make a forensic copy of
the hard drives, memory, and/or storage media installed in each of the
Electronic Devices but in no event, no later than 21 days after the date
of this Agreement.

. Imaging shall be made based on hardware and software sent to

Defendant by Vestige. Defendant shall follow the directions of Vestige
utilizing the hardware and software provided and shall then forthwith
return the hardware and software provided by Vestige to Vestige.

. Despite and regardless of the terminology used in this Agreement,

nothing in this Agreement shall be deemed a stipulation by Defendant,
or by Joseph DuMouchelle, to the relevance, discoverability,
admissibility, or right to possession of, or information regarding, any
data whatsoever obtained from the Electronic Devices, nor a waiver of
any rights of either with respect to the data or the Electronic Devices,
including without limitation, any claims of privilege.

. There is resident on each of the Electronic Devices data that may be

relevant to the claims or defenses of any party and/or which may lead
to the discovery of admissible evidence.

i. All relevant data can be categorized as Content Data and/or
Artifact Data (collectively, “Available Content’).

1. Content Data includes all data generated by a human.

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 8 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOQFOEED

130316422v2

2. Artifact Data is generated by a computer.

E. Preservation of the Available Content resident on the Electronic

Devices does NOT include any searching. Preservation is completed
by Vestige creating on its evidentiary electronic media a forensic copy
(hereinafter each a “Forensic Image”) of the hard drives, memory,
and/or storage media installed in each of the Electronic Devices. Once
created, the Forensic Images permit the extraction and analysis of
Content Data and Artifact Data in the manner described in Section II
below, without causing any changes to the Content Data or Artifact
Data.

. As Vestige creates each Forensic Image, Vestige will verify that each

Forensic Image is an exact, reliable copy of the hard drives, memory,
and/or available storage media installed in each of the Electronic
Devices. Vestige’s verification may include calculating a “digital
fingerprint” (MD5/SHA1 or other industry standard algorithm hash).

. Vestige shall not provide to Plaintiff, nor to Plaintiff’s counsel, nor to

any agent, employee, contractor, or associate of Plaintiff or Plaintiff's
counsel, any list of, nor a copy of, any of the data from the Electronic
Devices, including without limitation, the Content Data, Artifact Data,
or Forensic Image(s) of the same, except in conformity with the terms
of this Agreement. Further, Vestige shall not disclose or discuss any
of the data, or the content thereof, in any manner with Plaintiff or
Plaintiff's counsel, or any agent, employee, contractor, or associate of
Plaintiff or Plaintiff’s counsel, except as allowed herein for purposes of
technological explanation generally, and without reference to specific
data.

. Defendant or Defendant’s counsel will be allowed to observe the

creation of each Forensic Image of the hard drives, memory, and/or
storage media installed in each of the Electronic Devices.

. Vestige, and its representatives, will perform all work using usual and

customary practices and industry standards. Vestige will create each
Forensic Image using forensically sound and defensible protocols.

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 9 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEA0FOEED

IL. EXTRACTING RELEVANT CONTENT DATA, AND IDENTIFYING
AND ANALYZING RELEVANT ARTIFACT DATA

A. Vestige will create a Computer Analysis Team whose members will be
responsible for the identification and extraction of relevant Content
Data from the Forensic Image(s) and for the identification and
interpretation of relevant Artifact Data.

i. The names and curriculum vitae of each member of the team will
be made available upon request.

B. No Vestige personnel will “browse” the Forensic Image(s), hoping to
find relevant Content Data or Artifact Data. One or more members of
Vestige will analyze the volume, type, format, file characteristics, and
properties of data resident upon the Forensic Images and perform the
following analytic functions:

i. explain to the parties any technological characteristics of the data
that ought to be considered by the parties so that parties will be
able to read, review, redact, produce, and authenticate Available
Content;

ii. Recommend, where applicable, processing of some data by third
parties;

iii. Recommend defensible search protocols, including predictive
coding techniques, to properly reduce the amount of manual
review necessary and avoid waiver of privilege;

iv. Apply its expertise to identify in all areas of each Forensic Image,
including in-use space (allocated areas), slack space and unused
space (unallocated areas), Available Content and/or Relevant
Artifacts;

C. The analysis of the Forensic Images will take place at Vestige. Since
the Forensic Images can be made in the presence of Defendant’s
counsel, and subsequently verified via the MDS (or other appropriate)
hash checksum, the presence of Defendant’s personal counsel during

10
130316422v2

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 10 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

130316422v2

the analysis of the Forensic Images is unnecessary.

D. Vestige will use its computer forensic expertise to assist in the creation
of technically feasible protocols or procedures to safeguard against the
waiver of privilege due to inadvertent production of documents subject
to any claims of privilege, including without limitation: attorney-client
and/or work product privilege, and/or spousal privilege.

E. Vestige shall report the results of its analysis in the following manner:

i.

ii.

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Iv.

From time to time, Vestige shall prepare the following types of
reports:

1. a Report of Available Content Data,

2. an Abstract of Select Provisions of the Report of Available
Content (hereinafter the “Abstract’’), and .

3. a Report of Relevant Artifact Data.

Available Content Data. The Report of Available Content Data
will include a listing of all active and deleted user generated
content that is resident on the Forensic Images. The Report of
Available Content Data will include appropriate metadata.

Relevant Artifact Data. The Report of Relevant Artifact Data
shall include Vestige’s opinion and all artifacts related to the
manner in which Electronic Devices were used, the state of the
data resident upon the Electronic Devices (including certification
of completeness of data and integrity of data), and any other
relevant computer usage issue.

Vestige shall send the Report of Relevant Artifact Data and the
Report of Available Content Data to counsel for Defendant only.
No information whatsoever about the Available Content, neither
the data itself, nor the reports, shall be communicated to or
supplied to Plaintiff, nor to Plaintiff's counsel, nor to any agent,
employee, friend, associate, contractor of Plaintiff, prior to the

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20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 11 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

130316422v2

Vi.

Vii.

“Turnover” as defined below.

If the Defendant or Defendant’s counsel determines Vestige
should withhold any report information, or Available Content for
any reason, Defendant or Defendant’s counsel shall identify what
information is being withheld with reasonable particularity so
that the Court and Plaintiff can determine whether information
withheld is for a proper purpose under this Agreement or under
the Federal Rules of Civil Procedure, Federal Rules of
Bankruptcy Procedure, Local Rules (ED Mich.) and/or Local
Bankruptcy Rules (ED Mich.).

If the Defendant or Defendant’s counsel determines Vestige
should withhold any report information, or Available Content on
the basis of privilege, Defendant shall prepare a privilege log and
for each item withheld: (1) identify each item of information,
separate document or communication related to the claim of
privilege; (2) state the nature of claim of privilege; (3) state all
the facts relied on in support of the claim of privilege; and (4)
identify the sender and recipient(s) of each document or
communication and each person that you have produced, sent, or
provided a copy of such document or communication.

This paragraph vi. shall not be construed so as to require
Defendant(s) or Defendant’s counsel to make any disclosure of
any persons to whom he sent information, or received
information, even if that information contained information that
was also provided to, or received from, his client(s), as such
communications are protected as attorney client-work-product,
and such further communication of the same information or
message(s) does not waive attorney-client privilege.

Within 28 days (4 weeks) of receiving an electronic copy of the
Content Report and Artifact Report, Defendant or Defendant’s
counsel will redact the Content Report and Artifact Report,
prepare a log identifying the items in the Report of Available
Content Data and the Report of Relevant Artifact Data, that
Defendant or Defendant’s counsel has redacted and the grounds

12

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 12 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEA0FOEED

Viii.

ix.

therefore (privilege, relevance, etc.), and provide a copy of the
Redacted Reports to counsel for Plaintiff.

Plaintiff shall file his objections to any claim of privilege within
28 days (4 weeks) of the date Defendant provides the privilege
log described above.

Vestige will provide both parties all nonprivileged files
following specifications that each party will provide to Vestige
(“Turnover”).

Resolution of any privilege dispute according to this Agreement
is not subject to the parties’ agreed discovery cut-off deadline.

Ul. CONFIDENTIAL INFORMATION

A. Any information contained on Forensic Images that is not reported by
Vestige shall be considered Confidential Information and subject to the
provisions of this Agreement.

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Any data reported by Vestige that is claimed by Defendant or
Defendant’s counsel to be subject to privilege shall be treated as
Confidential Information.

Vestige and its representatives agree not to reveal to, or discuss
with, Plaintiffs Counsel any Confidential Information absent a
modification of this Agreement or Court Order denying
Defendant’s assertion of privilege.

Vestige agrees to subject itself to the jurisdiction of the Court and
the parties agree that Vestige has standing to request Court
intervention to protect Vestige’s economic, reputation, and/or
legal interests in this matter.

B. The inadvertent or intentional disclosure by Vestige or any
representative of Vestige of Confidential Information shall not be
deemed a waiver in whole or in part of Defendant’s claim of
confidentiality or protection under this Agreement, either as to specific

130316422v2

13

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 13 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

information disclosed or as to any other information relating thereto or
on the same or related subject matter. Counsel for the parties, and
Defendant’s counsel, shall, in any event, upon discovery of inadvertent
error, cooperate to restore the confidentiality and protection of the
Confidential Information.

C. Nothing in this Agreement shall prevent the parties from using relevant,
non-confidential information derived from the inspection of any
Relevant Electronic Device in connection with the trial, hearings,
depositions, motions, memoranda or other proceedings in this action.
Nor shall this Agreement prevent the parties from obtaining from
Vestige by way of testimony or affidavit, explanations of the process,
procedure, or results used or obtained by Vestige.

IV. PRIVILEGE REVIEW AND PRODUCTION

A. As outlined above, Defendant or Defendant’s counsel will conduct a
privilege review of the relevant Content and Artifact Data prior to
producing same to Plaintiff.

B. In the event that Defendant or Defendant’s Counsel concludes that, due
to the volume of relevant Content Data, a privilege review of all
relevant Content Data cannot be completed within 28 days, Defendant
or Defendant’s counsel may request a hearing at which the Court will
review the steps taken by Defendant and Defendant’s Counsel to review
the relevant Content Data, the volume of Content Data subject to
review, and the resources of Defendant and Defendant’s Counsel.

C. Should Defendant or Defendant’s Counsel fail to serve a privilege log
within the 28 day period or otherwise timely request a hearing as set
forth herein, Plaintiff may file a motion with the Court to seek a
determination that Defendant has waived any claims of privilege.

V. RETENTION OF JURISDICTION
A. The parties to this Agreement voluntarily agree that the U.S.

Bankruptcy Court for the Eastern District of Michigan (“Court”) has
jurisdiction to address any issues relate to this Agreement and as to any

14
130316422v2

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 14 of 16
DocuSign Envelope ID: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

modifications thereto.

B. Vestige specifically agrees, by entering into this Agreement, to submit
to and grant the Court personal jurisdiction over it, for enforcement of
the terms of this Agreement.

C. Vestige further agrees that no separate lawsuit or case need be filed or
initiated to seek enforcement of this Agreement, and that any such
matter may be addressed in the Court, by way of motions or other
papers filed in the above caption case(s).

D. The parties will sign a Stipulated Order to be submitted to the Court
adopting this Agreement as an order of the Court for purposes of
enforcement.

[Signatures on the following page]

15
130316422v2

20-04381-lsg Doc163 Filed 12/19/23 Entered 12/19/23 10:32:44 Page 15 of 16
DocuSign Envelope iD: 8EC3AEB2-A563-4BAC-A7A6-BE4CEAOFOEED

Reviewed, understood, acknowledged, and voluntarily agreed:

TAFT STETTINIUS &
HOLLISTER, LLP

By: /s/Jay L. Welford

Jay L. Welford (P34471)
Kimberly Ross Clayson (P69804)
27777 Franklin, Suite 2500
Southfield, MI 48034

(248) 351-3000
iwelford@taftlaw.com
kclayson@taftlaw.com

Counsel to Plaintiff, Thomas Ritter

Dated: December |*", 2023

VESTIGE DIGITAL
INVESTIGATIONS

DocuSigned by:

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Greg Keegy"
Its: Chief Technology Officer

Dated: December |, 2023

130316422v2

20-04381-lsg Doc163_ Filed 12/19/23

JOHN R. FOLEY, P.C.

By: /s/Patrick A. Foley (w/permission)
Patrick A. Foley (P74323)

18572 W. Outer Drive

Dearborn, MI 48128

313-274-7377

pafoley@irfpe.net

Counsel for Defendant, Melinda J.
Adducci

Dated: December \& , 2023

16

Entered 12/19/23 10:32:44 Page 16 of 16
